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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

United States of America,

                 Plaintiff,
                                              Case No. 21-30039
v.
                                              Hon. Patricia T. Morris
Michael Joseph Foy,

                 Defendant.

_____________________________/

          Government’s Brief in Support of Michal Foy’s
                      Pretrial Detention




     Figure 1: Michael Foy leading the charge--beating Capitol
       Police Officers with a hockey stick on January 6, 2021

      Defendant Michael Foy of Wixom, Michigan, went to Washington

D.C., rioted at the Capitol, and attacked police officers with a hockey

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stick—striking them at least 10 times. Not satisfied with assault, he

then appears to have rallied others to join him before crawling through

a destroyed window and into the Capitol, weapon in hand.

     Agents arrested Foy in his home on January 21, and found the

hockey stick he used and the hat he wore during the riot in his

residence. Foy is charged with four felonies in a criminal complaint out

of Washington D.C., including forcible assault upon an officer of the

United States. For the reasons stated below, Foy is both a danger to the

community and poses a risk of nonappearance. The government and

Pretrial Services request his detention.

                         I.    Factual Proffer

     The U.S. Capitol is secured 24 hours a day by the Capitol Police.

Restrictions around the Capitol include permanent and temporary

security barriers and posts manned by Capitol Police. Only authorized

people with appropriate identification are allowed inside the Capitol.

On January 6, 2021, the exterior plaza was also closed to the public.

     On January 6, 2021, a joint session of the Congress convened at

the Capitol, with Vice President Pence presiding. The joint session

began at approximately 1:00 p.m. As the proceedings continued, a large


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crowd gathered outside the Capitol. As noted above, temporary and

permanent barricades were in place around the exterior of the building,

and Capitol Police were present and attempting to keep the crowd away

from the building and the proceedings underway inside.

     At approximately 2:00 p.m., certain individuals in the crowd

forced their way through, up, and over the barricades, past officers of

the Capitol Police, and advanced to the exterior façade of the building.

The crowd was not lawfully authorized to enter or remain in the

building and, prior to entering the building, no members of the crowd

submitted to security screenings or weapons checks by Capitol Police or

other authorized security officials.

     At such time, the certification proceedings still underway and the

exterior doors and windows of the Capitol were locked or otherwise

secured. The Capitol Police attempted to maintain order and keep the

crowd from entering the building; however, shortly after 2:00 p.m.,

individuals in the crowd forced entry into the Capitol, including by

breaking windows and by assaulting members of the Capitol Police, as

others in the crowd encouraged and assisted.




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     At approximately 2:20 p.m., members of the House of

Representatives and Senate, including Vice President Pence, evacuated

the chambers. All Congressional proceedings were suspended until

shortly after 8:00 p.m. the same day. In light of the dangerous

circumstances caused by the unlawful entry to the Capitol, including

the danger posed by individuals who had entered the Capitol without

any security screening or weapons check, proceedings could not resume

until after every unauthorized occupant had left the Capitol and the

building had been confirmed secured. The proceedings finally resumed

at approximately 8:00 p.m. When the dust settled, five people were

dead, including Capitol Police Officer Brian Sicknick, who died the day

after he was overpowered and beaten by rioters.

Defendant Michael Joseph Foy

     One of the January 6 rioters was the defendant, Michael Foy, a

resident of Wixom, Michigan, and a former Marine. As shown below,

Foy’s actions on January 6 were among the most violent of all

participants.

     January 6 was not Foy’s first protest: on November 6, 2020, Foy

joined a mass demonstration at the TCF Center in Detroit where


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workers counted absentee ballots. See figure 2. One difference between

November and January, however, is that Foy carried a hockey stick

with him during the D.C. riot. See figures 3, 4, and 5. Agents found the

hockey stick in his residence when they arrested Foy on January 21.




      Figure 2: Foy protests in Detroit on November 6, 2020




Figures 3, 4, & 5: Foy and his hockey stick in D.C. on January 6



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     Images and video taken at the Capitol show Foy attacking officers

guarding the doors. The scene is chaotic, graphic, and brutal. Rioters

hurled projectiles at the officers and physically assaulted them, often

using weapons like poles, bottles, and in Foy’s case, a hockey stick.

Several officers were dragged into the crowd, stripped of their protective

gear, and beaten. Other rioters used crowbars and other tools to knock

the windows out of the Capitol so rioters could enter.

     At one point, before the worst of the melee began, Foy threw what

appears to be a sharpened pole at the officers. See Figure 6. A few

seconds later, one of the rioters rushed the officers, knocking one of

them to the ground. Foy jumped at the opportunity, immediately

rushing towards the officers with his hockey stick raised. Figures 7 and

8 are from some of the videos taken of the riot and show Foy violently

assaulting Capitol Police Officers—including the officer on the ground,

unable to fully protect himself, as seen in Figure 8. Video shows that

Foy swung (and appears to have struck officers with) his hockey stick

no fewer than ten times.




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Figure 6: Foy throws a sharpened pole at Capitol Police Officers




  Figures 7 & 8: Foy strikes police officers ten times with his
           hockey stick, including downed officers


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     Body camera footage from one of the officers comes closest to

capturing the chaos and aggression of the January 6 riot (the

government will play clips of several different videos, including body

camera footage, at Foy’s detention hearing). Figure 9 is a still shot

taken from the body camera footage. It shows officers on the ground,

trying to protect themselves, as Foy swings his hockey stick at them.




Figure 9: Foy winds up and swings over and at downed officers

     After ten swings, Foy fell back into the crowd—but he was far

from finished. He stayed near the doors to the Capitol building. A few

minutes later, Foy appears to have rallied his fellow rioters, again

taking a leadership role in the chaos. After shouting to the crowd, Foy

took his hockey stick and crawled through a broken window and into

the Capitol. See figures 10 and 11. A photograph taken from Foy’s cell




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phone shows some of the rioters standing in the Capitol, glass on the

carpet, tables overturned, destruction evident. See figure 12.




  Figures 10 & 11: Rallying the troops and entering the Capitol




               Figure 12: Destruction of the Capitol
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                             II.   Argument

     Under the Bail Reform Act, a defendant must be detained pending

trial if “no condition or combination of conditions will reasonably assure

the appearance of the person as required and the safety of any other

person and the community.” 18 U.S.C. § 3142(e)(1). The Act requires

detention if the defendant is a danger to the community or poses a risk

of nonappearance. See id.; United States v. Hazime, 762 F.2d 34, 37 (6th

Cir. 1985). A finding of dangerousness “must be ‘supported by clear and

convincing evidence.’” United States v. Stone, 608 F.3d 939, 945 (6th

Cir. 2010) (quoting 18 U.S.C. § 3142(f)(2)). But the government need

only demonstrate the risk of nonappearance by a preponderance of the

evidence. Hazime, 762 F.2d at 37.

A.   The 18 U.S.C. § 3142(g) factors show that Foy is a danger to
     the community and poses a risk of nonappearance

     The Court must consider the following factors when deciding

whether to release or detain a defendant pending trial: the nature and

circumstances of the offense charged, the weight of the evidence against

the person, the history and characteristics of the person, and the nature

and seriousness of the danger posed by the person’s release.” 18 U.S.C.

§ 3142(g)

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               1. Nature and circumstances of the charged offenses

      The complaint charges Foy with four offenses: a ten-year felony

for entering a restricted building—the Capitol—with the intent to

disrupt the orderly conduct of government business while carrying a

deadly or dangerous weapon, under 18 U.S.C. § 1752; a five-year felony

for interfering with a law enforcement officer lawfully performing

official duties during a civil disorder, under 18 U.S.C. § 231; a twenty-

year felony for forcibly assaulting an officer of the United States while

engaged in official duties, under 18 U.S.C. § 111; and a twenty-year

felony for obstructing an official proceeding under 18 U.S.C. § 1512.

      Foy’s forcible assault count is a crime of violence, which is an

express factor under 18 U.S.C. § 3142(g)(1) (“whether the offense is a

crime of violence”). See, e.g., Darby v. United States, 819 F. App’x 894,

895 (11th Cir. 2020) (a “conviction under § 111(b) qualifies as a ‘crime of

violence’”).

      And Foy’s conduct here is some of the most violent that occurred

at the riot on January 6. He, a former Marine trained in combat,

brought a hockey stick to a riot at the Capitol, and when things started

to get out of hand, he took a leading role in the violence. He repeatedly


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used the hockey stick to beat police officers in the face, head, neck, and

body area. And then he rallied others into entering the Capitol—

through broken windows. The nature and circumstances of Foy’s

offenses support his detention.

           2. The weight of the evidence against Foy

     The weight of the evidence “goes to the weight of the evidence of

dangerousness, not the weight of the evidence of the defendant’s guilt.”

Stone, 608 F.3d at 948. Here, the weight of the evidence of defendant’s

dangerousness and risk of nonappearance is strong. Foy’s actions were

some of the most aggressive and violent at the January 6 riot. Far from

a mere participant, Foy took a leadership role: he personally attacked

officers and appears to have led others into the Capitol.

           3. Foy’s history and characteristics

     Foy’s conduct escalated over time. There is no indication that he

brought a weapon to the November 6, 2020 protest at the TCF Center.

But two months later, he repeatedly and aggressively assaulted Capitol

Police Officers with a hockey stick.

     Foy’s substance abuse is also concerning: he reported drinking ten

beers per day, as recently as January 20—the day before he was


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arrested. He also has ready access to firearms: he kept two long guns in

his residence prior to his arrest, and his mother (who offered to act as a

third-party custodian) keeps approximately 10 firearms in her

residence. While she offered to remove the weapons if Foy resided there,

the fact remains that the defendant has access to guns and knows how

to use them.

     Foy’s mental health history also necessitates his detention, as

explained in the government’s sealed supplement to this brief.

     Given his history and characteristics, Foy’s detention is

appropriate in this case.

           4. Danger to the community and himself

     Michael Foy poses a demonstrated danger to the community and

to himself if released on bond. He stormed the Capitol and assaulted

police officers. His conduct was more than violent, it was reckless. The

severity of his conduct coupled with his current mental health issues

make Foy a danger to the community and to himself.




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                          III. CONCLUSION

     The Court should detain the defendant.

                                         Respectfully Submitted,

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Date: January 24, 2021




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                     CERTIFICATE OF SERVICE

      I hereby certify that on January 24, 2021, I provided a copy of this

brief to defense counsel in this case via electronic filing.


                                          /s Hank Moon
                                          Hank Moon
                                          Assistant United States Attorney




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